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EXHIBIT 3 to EXHIBIT A

Form of Declaration of Disinterestedness
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., e¢ al.,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Nee Ne ee ee ee ee ee”

DECLARATION OF DISINTERESTEDNESS OF [ENTITY] PURSUANT TO
THE ORDER AUTHORIZING THE RETENTION AND COMPENSATION OF
CERTAIN PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

I, , declare under penalty of perjury:

1, I am a [Position] of [Company], located at [Street, City, State, Zip Code]
(the “Company”).

2. Energy Future Holdings Corporation and certain of its affiliates, as debtors and
debtors in possession (collectively, the “Debtors”), have requested that the Company provide
[specific description] services to the Debtors, namely [Specific Debtor(s) for which services are
being provided], and the Company has consented to provide such services.

3. The Company may have performed services in the past, may currently perform
services and may perform services in the future, in matters unrelated to these chapter 11 cases,
for persons that are parties in interest in the Debtors’ chapter 11 cases. The Company does not
perform services for any such person in connection with these chapter 11 cases, or have any

relationship with any such person, their attorneys, or accountants that would be adverse to the

1 The last four digits of Energy Future Holdings Corp.'s tax identification number are 8810, The location of the

debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted on an interim basis, a complete list of the
debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
of such information may be obtained on the website of the debtors’ claims and noticing agent at
http://www. efhcaseinfo.com,
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Debtors or their estates with respect to the matter on which the Company is proposed to be
employed.

4. As part of its customary practice, the Company is retained in cases, proceedings,
and transactions involving many different parties, some of whom may represent or be employed
by the Debtors, claimants, and parties in interest in these chapter 11 cases.

5. Neither I nor any principal, partner, director, officer, etc., of or professional
employed by, the Company has agreed to share or will share any portion of the compensation to
be received from the Debtors with any other person other than the principal and regular
employees of the Company.

6, Neither I nor any principal, partner, director, officer, of or professional employed
by, the Company, insofar as I have been able to ascertain, holds, or represents any interest
adverse to the Debtors or their estates with respect to the matter(s) upon which this Company is
to be employed.

7. The Debtors owe the Company $ for prepetition services, the payment
of which is subject to limitations contained in the United States Bankruptcy Code, 11 U.S.C.
§§ 101-1532.

8. {If the Company is a non-attorney: I understand that the Order Authorizing the
Retention and Compensation of Certain Professionals Utilized in the Ordinary Course of
Business does not authorize any of the Debtors to pay the Company for prepetition services. ]

9, I further understand that this Declaration will not suffice as the Company’s proof

of claim.

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10. As of April 29, 2014, which was the date on which the Debtors commenced these
chapter 11 cases, the Company [was/was not] party to an agreement for indemnification with
certain of the Debtors. [A copy of such agreement is attached as Exhibit 1 to this Declaration.]

11. [If there is an indemnification agreement: Such agreement for indemnification

(the “OCP Agreement”) is subject to the following modifications, applicable during the

pendency of the Debtors’ chapter 11 cases:

(a) the Company shall not be entitled to indemnification,
contribution, or reimbursement for services provided under the
OCP Agreement other than those described in such OCP
Agreement, unless such services and indemnification therefor
are approved by the Bankruptcy Court.

(b) Notwithstanding anything to the contrary in the OCP
Agreement, the Debtors shall have no obligation to indemnify
the Company, or provide contribution or reimbursement to the
Company, for any claim or expense related to such OCP
Agreement that is either:  (i)judicially determined (the
determination having become final) to have arisen from the
Company’s gross negligence or willful misconduct; (ii) for a
contractual dispute in which the Debtors allege the breach of
the Company’s contractual obligations under the OCP
Agreement unless the Court determines that indemnification,
contribution or reimbursement would be permissible pursuant
to In re United Artists Theatre Co., 315 F.3d 217 (3d Cir.
2003); or (111) settled prior to a judicial determination as to the
exclusions set forth in clauses (i) and (11) above, but determined
by the Court, after notice and a hearing to be a claim or
expense for which the Company should not receive indemnity,
contribution or reimbursement under the terms of the OCP
Agreement as modified by this Order.

(c) If, before the earlier of (i) the entry of an order confirming a
chapter 11 plan in these cases (that order having become a final
order no longer subject to appeal), and (ii) the entry of an order
closing these chapter 11 cases, the Company believes that it is
entitled to the payment of any amounts by the Debtors on
account of the Debtors’ indemnification, contribution and/or
reimbursement obligations under the OCP Agreement (as
modified by this Order), including without limitation the
advancement of defense costs, the Company must file an
application therefor in this Court, and the Debtors may not pay
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any such amounts to the Company before the entry of an order
by this Court approving the payment. This subparagraph (c) is
intended only to specify the period of time under which the
Court shall have jurisdiction over any request for fees and
expenses by the Company for indemnification, contribution or
reimbursement, and not a provision limiting the duration of the
Debtors’ obligation to indemnify the Company. All parties in
interest in these chapter 11 cases shall retain the right to object
to any demand by the Company for indemnification,
contribution or reimbursement. ]

12. The Company is conducting further inquiries regarding its retention by any
creditors of the Debtors, and upon conclusion of that inquiry, or at any time during the period of
its employment, if the Company should discover any facts bearing on the matters described

herein, the Company will supplement the information contained in this Declaration.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.

Date: , 2014

[DECLARANT]
